Case 1:22-cv-00944-JMB-SJB ECF No. 18, PageID.287 Filed 01/13/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

 VALERIE KLOOSTERMAN
                                                             Civil Action No. 1:22-cv-00944
       Plaintiffs                                            Hon. Jane M. Beckering

 v.

METROPOLITAN HOSPITAL, d/b/a
UNIVERSITY OF MICHIGAN HEALTH-WEST;
RAKESH PAI, an individual; RHAE-ANN
BOOKER, an individual; MARLA COLE, an
individual; THOMAS PIERCE, an individual; and
CATHERINE SMITH, an individual.

       Defendants.


 STIPULATED ORDER ALLOWING DEFENDANTS PAI, BOOKER, COLE, PIERCE
 AND SMITH TO FILE AMENDED MOTION AND BRIEF IN SUPPORT OF MOTION
                 TO DISMISS PLAINTIFF’S COMPLAINT

       On January 9, 2023, Defendants Pai, Booker, Cole, Pierce and Smith filed their Motion to

Dismiss Plaintiff’s Complaint (ECF No. 14) and their Brief in Support of said Motion (ECF No.

15);

       Defendants subsequently recognized the need to correct argument III.A. in said Brief (with

resulting changes to the word count and table of contents and one paragraph in the Motion);

       In order to allow the same, the parties have stipulated to this Order;

       IT IS THEREFORE ORDERED that Defendants Pai, Booker, Cole, Pierce and Smith shall

be permitted to file an Amended Motion to Dismiss and Amended Brief in Support of Motion to

Dismiss Plaintiff’s Complaint;

       IT IS FURTHER ORDERED that Plaintiff shall have 28 days after the filing of said

Amended Motion and Brief to respond to the same.

       IT IS SO ORDERED.
Case 1:22-cv-00944-JMB-SJB ECF No. 18, PageID.288 Filed 01/13/23 Page 2 of 2




Dated: January 13, 2023

APPROVED AS TO FORM AND CONTENT

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                                   __________________________________________
                                   UNITED STATES DISTRICT COURT JUDGE

                                   Dated: _________________



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